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                         UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF FLORIDA (FT. LAUDERDALE)

                                Case No. 0:19-cv-60752-RAR – Ruiz

  BRENDA BELL, individually and on behalf               CLASS ACTION
  of others similarly situated

         Plaintiff,

         v.

  ROYAL SEAS CRUISES, INC.,

        Defendant.
  __________________________________/

     ROYAL SEAS CRUISES, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO
     PLAINTIFF’S CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

         Defendant, Royal Seas Cruises, Inc. (“RSC”), a Florida corporation, files its Answer and

  Affirmative Defenses in response to the Class Action Complaint and Demand for Jury Trial

  (“Complaint”) of Plaintiff Brenda Bell (“Plaintiff”), individually and on behalf of others

  similarly situated.

                                               ANSWER

                                  PRELIMINARY STATEMENT

         1.      RSC denies the truth of the allegations contained in Paragraph 1 of the Complaint.

         2.      RSC denies the truth of the allegations contained in Paragraph 2 of the Complaint.

         3.      RSC denies the truth of the allegations contained in Paragraph 3 of the Complaint.

         4.      Paragraph 4 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 4 of the Complaint.

         5.      RSC denies the truth of the allegations contained in Paragraph 5 of the Complaint.
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                                               PARTIES

         6.      RSC denies knowledge or information sufficient to form a belief as the truth of

  the allegations contained in Paragraph 6 of the Complaint.

         7.      RSC admits the truth of the allegations contained in Paragraph 7 of the

  Complaint.

                                   JURISDICTION AND VENUE

         8.      RSC admits that this Court has federal question jurisdiction for actions that arise

  under the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”), but denies

  that RSC engaged in any wrongful conduct under the TCPA as alleged in Paragraph 8 of the

  Complaint.

         9.      RSC denies the truth of the allegations contained in Paragraph 9 of the Complaint.

         10.     RSC admits only that it is a Florida corporation that previously sold and marketed

  cruise vacation packages, and otherwise denies the truth of the allegations contained in

  Paragraph 10 of the Complaint.

         11.     RSC admits only that it is a Florida corporation that previously sold and marketed

  cruise vacation packages, and otherwise denies the truth of the allegations contained in

  Paragraph 11 of the Complaint.

                                    FACTUAL ALLEGATIONS

         12.     RSC denies the truth of the allegations contained in Paragraph 12 of the

  Complaint.

         13.     Paragraph 13 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations



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  contained in Paragraph 13 of the Complaint.

         14.    RSC denies the truth of the allegations contained in Paragraph 14 of the

  Complaint.

         15.    RSC denies the truth of the allegations contained in Paragraph 15 of the

  Complaint.

         16.    RSC denies the truth of the allegations contained in Paragraph 16 of the

  Complaint.

         17.    RSC denies the truth of the allegations contained in Paragraph 17 of the

  Complaint.

                           FACTS SPECIFIC TO PLAINTIFF BELL

         18.    RSC denies knowledge or information sufficient to form a belief as to the truth of

  the allegations contained in Paragraph 18 of the Complaint. To the extent a response is required,

  RSC denies the truth of the allegations contained in Paragraph 18 of the Complaint.

         19.    RSC denies making any calls to Plaintiff and denies the truth of the allegations

  contained in Paragraph 19 of the Complaint.

         20.    RSC denies making any calls to Plaintiff and denies the truth of the allegations

  contained in Paragraph 20 of the Complaint.

         21.    RSC denies making any calls to Plaintiff and denies the truth of the allegations

  contained in Paragraph 21 of the Complaint.

         22.    RSC denies making any calls to Plaintiff and denies the truth of the allegations

  contained in Paragraph 22 of the Complaint.

         23.    RSC denies making any calls to Plaintiff and denies the truth of the allegations

  contained in Paragraph 23 of the Complaint.



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         24.     RSC denies making any calls to Plaintiff and denies the truth of the allegations

  contained in Paragraph 24 of the Complaint.

         25.     RSC denies making any calls to Plaintiff and denies the truth of the allegations

  contained in Paragraph 25 of the Complaint.

         26.     RSC admits that Plaintiff brings this suit on behalf of herself and similarly

  situated individuals, but denies that Plaintiff or putative class members are entitled to redress for

  any actions of RSC. Further, Paragraph 26 of the Complaint contains only legal conclusions and

  RSC respectfully refers to the entirety of the TCPA, its full legislative history, agency

  interpretations, and case law for its full and proper interpretation and effect, and otherwise denies

  any allegations contained in Paragraph 26 of the Complaint.

         27.     RSC denies that Plaintiff and putative class members are entitled to any relief

  sought in Paragraph 27 of the Complaint. Further, Paragraph 27 of the Complaint contains only

  legal conclusions and RSC respectfully refers to the entirety of the TCPA, its full legislative

  history, agency interpretations, and case law for its full and proper interpretation and effect, and

  otherwise denies any allegations contained in Paragraph 27 of the Complaint.

                                      CLASS ALLEGATIONS

         28.     RSC admits that Plaintiff purports to bring this case as a class action but denies

  that any class can or should be certified and denies that Plaintiff or any class members are

  entitled to such relief. RSC further denies that Plaintiff can satisfy any of the requirements under

  Federal Rule of Civil Procedure 23(a), (b)(2), or (b)(3).

         29.     RSC denies the truth of the allegations contained in Paragraph 29 of the

  Complaint.

         30.     RSC denies the truth of the allegations contained in Paragraph 30 of the



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  Complaint.

            31.   RSC denies the truth of the allegations contained in Paragraph 31 of the

  Complaint.

            32.   RSC denies the truth of the allegations contained in Paragraph 32 of the

  Complaint.

            33.   RSC denies the truth of the allegations contained in Paragraph 33 of the

  Complaint.

                                    FIRST CAUSE OF ACTION

            34.   RSC re-alleges and incorporates the foregoing paragraphs as if fully set forth

  herein.

            35.   RSC denies the truth of the allegations contained in Paragraph 35 of the

  Complaint.

            36.   RSC denies the truth of the allegations contained in Paragraph 36 of the

  Complaint.

            37.   Paragraph 37 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 37 of the Complaint.

            38.   RSC denies the truth of the allegations contained in Paragraph 38 of the

  Complaint.

            39.   RSC denies the truth of the allegations contained in Paragraph 39 of the

  Complaint.

            40.   Paragraph 40 of the Complaint contains only legal conclusions and RSC



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  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 40 of the Complaint, and denies that Plaintiff and putative Prerecorded

  No Consent Class members are entitled to the relief sought therein.

            41.   Paragraph 41 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 41 of the Complaint, and denies that Plaintiff and putative Prerecorded

  No Consent Class members are entitled to the relief sought therein.

                                   SECOND CAUSE OF ACTION

            42.   RSC re-alleges and incorporates the foregoing paragraphs as if fully set forth

  herein.

            43.   Paragraph 43 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 43 of the Complaint.

            44.   Paragraph 44 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 44 of the Complaint.

            45.   Paragraph 45 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations



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  contained in Paragraph 45 of the Complaint.

         46.     Paragraph 46 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 46 of the Complaint.

         47.     Paragraph 47 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 47 of the Complaint.

         48.     Paragraph 48 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 48 of the Complaint.

         49.     RSC denies the truth of the allegations contained in Paragraph 49 of the

  Complaint.

         50.     RSC denies the truth of the allegations contained in Paragraph 50 of the

  Complaint.

         51.     RSC denies the truth of the allegations contained in Paragraph 51 of the

  Complaint.

         52.     Paragraph 52 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 52 of the Complaint.



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            53.   Paragraph 53 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 53 of the Complaint, and denies that Plaintiff and putative DNC Class

  members are entitled to the relief sought therein.

            54.   Paragraph 54 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 54 of the Complaint, and denies that Plaintiff and putative DNC Class

  members are entitled to the relief sought therein.

                                    THIRD CAUSE OF ACTION

            55.   RSC re-alleges and incorporates the foregoing paragraphs as if fully set forth

  herein.

            56.   RSC denies the truth of the allegations contained in Paragraph 56 of the

  Complaint.

            57.   RSC denies the truth of the allegations contained in Paragraph 57 of the

  Complaint.

            58.   RSC denies the truth of the allegations contained in Paragraph 58 of the

  Complaint.

            59.   Paragraph 59 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 59 of the Complaint, and denies that Plaintiff and putative Stop Class



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  members are entitled to the relief sought therein.

          60.      Paragraph 60 of the Complaint contains only legal conclusions and RSC

  respectfully refers to the entirety of the TCPA, its full legislative history, agency interpretations,

  and case law for its full and proper interpretation and effect, and otherwise denies any allegations

  contained in Paragraph 60 of the Complaint, and denies that Plaintiff and putative Stop Class

  members are entitled to the relief sought therein.

          61.      Answering the unnumbered paragraphs including Plaintiff’s prayer for relief and

  its paragraphs “1” through “8”, RSC denies that Plaintiff and putative class members are entitled

  to the relief sought.

          62.      RSC denies each and every allegation in the Complaint not specifically admitted

  herein and denies that Plaintiff and putative class members are entitled to the relief requested in

  the Complaint.

                          DEFENSES AND AFFIRMATIVE DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE

          Plaintiff’s Complaint fails to state a plausible claim upon which relief can be granted

  because the factual allegations are incomplete and/or do not state a claim for relief under the

  TCPA against RSC. Plaintiff has failed to allege what party made the purported telephone calls,

  including whether or not Plaintiff is basing liability upon a special relationship between RSC and

  the actual entity or entities that allegedly called Plaintiff, thereby giving rise to some theory of

  third-party liability by RSC for the alleged telephone calls. Therefore, these allegations are not

  enough to raise a right to relief above the speculative level.

                               SECOND AFFIRMATIVE DEFENSE

          Plaintiff fails to state a plausible basis for class relief pursuant to Federal Rule of Civil



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   Procedure 23, in that, inter alia, Plaintiff cannot identify an ascertainable class and, even if it

   could, the claims Plaintiff asserts cannot be common or typical of the claims of the putative

   class; nor is class relief superior to other available methods for fairly and efficiently adjudicating

   the claims Plaintiff assert warrant class treatment. The elements of Rule 23(a) and (b) cannot be

   met, and individualized fact issues, including but not limited to whether any member of the

   proposed DNC class used their telephone number for business purposes, will predominate over

   common issues.      Further, the proposed classes is overly broad, “fail-safe,” and otherwise

   unascertainable.

                                 THIRD AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by her and class members’ prior express written consent to

   receive solicitations on their cellular and/or residential telephone numbers, and such consent was

   never validly revoked.

                                FOURTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims and claims of putative class members are barred by the doctrine of

   Estoppel. Upon information and belief, Plaintiff solicited and/or encouraged the alleged calls

   described in his Complaint, and knowingly consented to the recording of such calls, for the

   purpose of generating a lawsuit against RSC and alleging claims of a putative class as leverage to

   exact a settlement for his own personal benefit in an amount vastly exceeding any damages he

   could ever claim for his individual claims.

                                 FIFTH AFFIRMATIVE DEFENSE

          Plaintiff’s and putative class members’ damages, if any, and none being admitted, were

   not caused by RSC, but by another person or entity, including Plaintiff and putative class

   members, for whom RSC is not responsible and over whose activities RSC exercises no control



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   and/or has no right to control.

                                  SIXTH AFFIRMATIVE DEFENSE

             Plaintiff’s Complaint must be dismissed because it is a shotgun pleading that incorporates

   all preceding allegations into each cause of action.

                                SEVENTH AFFIRMATIVE DEFENSE

             Plaintiff’s claims are barred because Plaintiff did not suffer any concrete harm or actual

   injury.

                                 EIGHTH AFFIRMATIVE DEFENSE

             Plaintiff’s claims are barred because Plaintiff and putative class members did not suffer

   any concrete harm separate and apart from a violation of the TCPA and Plaintiff alleges bare

   procedural statutory violations divorced from any actual, concrete injury-in-fact. Plaintiff and

   putative class members therefore lack standing.

                                  NINTH AFFIRMATIVE DEFENSE

             RSC complied with all applicable statutory, regulatory, and common law requirements

   and accordingly, Plaintiff’s claims are barred by RSC compliance with all applicable State,

   Federal, and local laws and regulations.

                                  TENTH AFFIRMATIVE DEFENSE

             Plaintiff’s claims are barred because the TCPA violates RSC’s First Amendment right to

   free speech.      Specifically, the TCPA improperly inhibits the exercise of constitutionally

   protected speech.

                               ELEVENTH AFFIRMATIVE DEFENSE

              Plaintiff’s claims are barred because the imposition on RSC of statutory damages and/or

   exemplary/punitive damages under the TCPA, within the context of a class action, is violative of



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   RSC’s constitutional rights under the Due Process provisions of the United Statutes Constitution

   and the Eighth Amendment prohibition against excessive fines and cruel and unusual

   punishment.

                              TWELFTH AFFIRMATIVE DEFENSE

           Maintenance of this action as a class action is inconsistent with the legislative intent of

   the TCPA in that the United States Congress intended that claims under the TCPA proceed as

   individual actions. The TCPA’s legislative history supports a conclusion that class actions were

   not intended, but rather that Congress envisioned the statute as providing a private right of action

   to consumers receiving the specifically prohibited communications, allowing them to pursue the

   statutory damages of $500 in small claims court without an attorney. In holding that a class

   action could not proceed under the TCPA, one federal district court determined that the statutory

   remedy is designed to provide adequate incentive for an individual plaintiff to bring suit on his

   own behalf.    A class action would be inconsistent with the specific and personal remedy

   provided by Congress to address the minor nuisance of unsolicited facsimile advertisements. See

   Forman v. Data Transfer, Inc., 164 F.R.D. 400, 404-05 (E.D. Pa. 1995).

                            THIRTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by the Doctrine of Unclean Hands. Upon information and

   belief, Plaintiff solicited and/or encouraged the alleged calls described in his Complaint, and

   knowingly consented to the recording of such calls, for the purpose of generating a lawsuit

   against RSC and alleging claims of a putative class as leverage to exact a settlement for his own

   personal benefit in an amount vastly exceeding any damages he could ever claim for his

   individual claims.




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                            FOURTEENTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims and claims of putative class members are barred by the doctrine of

   ratification.

                              FIFTEENTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims are barred by the Doctrine of In Pari Delicto.

                              SIXTEENTH AFFIRMATIVE DEFENSE

           RSC states that to the extent it engaged in any conduct which may have violated any

   provision of the TCPA, such violation was unintentional, accidental, and as a result of a bona

   fide error which occurred notwithstanding the maintenance of procedures reasonably adapted to

   avoid such error and ensure RSC’s compliance with all applicable statutory, regulatory, and

   common law requirements. Additionally, RSC raises its good faith compliance as a defense to

   Plaintiff’s claims for treble damages for alleged willing or knowing violations of the TCPA.

                           SEVENTEENTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims and claims of putative class members are barred because RSC did not

   use an automatic telephone dialing system as defined under the TCPA and no automatic

   telephone dialing system was used to contact Plaintiff or putative class members.

                            EIGHTEENTH AFFIRMATIVE DEFENSE

           RSC states that to the extent any provision of the TCPA was violated as a result of a

   purported revocation of consent from Plaintiff, Plaintiff’s damages, if any, would be limited to

   the number of purported calls or recordings which took place after Plaintiff actually revoked his

   consent.

                             NINETEENTH AFFIRMATIVE DEFENSE

           RSC asserts that Plaintiff has not alleged any plausible facts to establish that RSC has



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   acted intentionally, maliciously, willfully, knowingly, recklessly, negligently, or under a false

   pretense in any of its alleged conduct, and therefore Plaintiff is barred from recovering treble

   damages under the TCPA.

                              TWENTIETH AFFIRMATIVE DEFENSE

          To the extent Plaintiff premises liability upon a special relationship between RSC and the

   actual entity or entities that allegedly called Plaintiff – which Plaintiff has not alleged –

   Plaintiff’s claims against RSC would be barred because no facts support any theory of vicarious

   liability against RSC for acts of third parties outside the scope of their actual or apparent

   authority and Plaintiff has not conferred any benefit on RSC that could be deemed a ratification

   of alleged acts of third parties outside the scope of authority.

          WHEREFORE, Royal Seas Cruises, Inc., requests that this Court enter judgment against

   Plaintiff and in favor of RSC, dismiss this action with prejudice, deny Plaintiff’s request for class

   certification, award RSC its reasonable attorneys’ fees and costs incurred in defending this

   action, and for such other relief this Court deems just and proper.

   DATED: May 9, 2019                             Respectfully submitted,

                                                  By:      /s/ Jeffrey A. Backman
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